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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAMES MICHAEL AMOR, et al.,                           :
               Plaintiffs,                            :
                                                      :
                       v.                             :       Civil No. 5:21-cv-05574-JMG
                                                      :
COURTNEY CONOVER,                                     :
                  Defendant.                          :
__________________________________________

                                              ORDER

       AND NOW, this 30th day of August, 2022, after having received a message from

Defendant raising certain concerns regarding the service of subpoenas for trial, the payment of

witness’s attendance costs, and Plaintiffs’ communications with Defendant’s witnesses, IT IS

HEREBY ORDERED as follows:

       1.      To the extent that witnesses have agreed to accept service from Defendant via

email, Defendant is PERMITTED to serve trial subpoenas upon those witnesses by certified mail

or email. If a witness ultimately does not appear at trial, however, the enforceability by civil

contempt proceedings of any subpoena served by email will depend on Defendant’s ability to

prove the witness actually received the subpoena.

       2.      Pursuant to Federal Rule of Civil Procedure 45(b)(1), a trial subpoena will be

effective and enforceable only if Defendant tenders “the fees for 1 day’s attendance and the

mileage allowed by law” alongside the subpoena. Defendant may tender these payments by an

electronic payment application such as Venmo or PayPal. The attendance fee is $40 per day and

the mileage rate is $0.625 per mile. See 28 U.S.C. § 1821.1



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 See also https://www.gsa.gov/travel/plan-book/transportation-airfare-pov-etc/privately-owned-
vehicle-pov-mileage-reimbursement-rates.
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       3.      Insofar as any witnesses have agreed with Defendant to accept reimbursement for

only tolls and fuel rather than all the costs for which they are entitled to reimbursement under 28

U.S.C. § 1821, Defendant is PERMITTED to reimburse those witnesses in accordance with their

agreements.

       4.      To avoid the unnecessary accumulation of costs, Defendant need not require

witnesses to appear in Philadelphia, Pennsylvania, on the day of jury selection. Instead, Defendant

may subpoena witnesses’ appearance in Allentown, Pennsylvania, beginning on October 13, 2022.

To the extent Defendant has already delivered subpoenas instructing witnesses to appear on an

earlier date, Defendant may amend those subpoenas by certified mail or by email so long as

Defendant receives confirmation that the witness received the amendment.

       5.      Defendant alleges Plaintiffs have attempted to discourage at least one of

Defendant’s witnesses from appearing at trial. There is presently insufficient information before

the Court to warrant sanctions. However, based on the information before the Court, it seems that

it would be appropriate for Defendant to elicit testimony at trial from her witnesses about any

efforts Plaintiffs made to discourage those witnesses from testifying.




                                              BY THE COURT:



                                              /s/ John M. Gallagher
                                              JOHN M. GALLAGHER
                                              United States District Court Judge




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